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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


VINCENT FELICIANO, DIANA LONGA, GREG                     Civil Case No.: 18-cv-00026(VSB)
DEVANEY,PETER RONEES and CARLO
TAGLIAVIA,on behalf of themselves and others
similarly situated,

                       Plaintiffs,

                v.

METROPOLITAN TRANSPORTATION
AUTHORITY and TRIBOROUGH BRIDGE AND
TUNNEL AUTHORITY,

                       Defendants.


  STIPULATION AND [PROPOSED] ORDER APPROVING THE SETTLEMENT AND
                        DISMISSING THE CASE

        IT IS HEREBY STIUPLATED AND AGREED by and between the parties, and Ordered

by the Court that:

      (a)      Having reviewed the terms of the parties' resolution of this matter, the Court finds

that the parties' settlement of the claims under the Fair Labor Standards Act is fair and reasonable

in accordance with Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir. 2015), and

directs the Clerk to enter this document;

      (b)      The above-captioned action and all causes of action that were asserted therein,

including all claims under the Fair Labor Standards Act, are dismissed with prejudice pursuant to

Rule 41(a)(2) of the Federal Rules of Civil Procedure and without costs, disbursements, or

attorneys' fees to any party, except as provided for in the parties' Settlement Agreement; and

      (c)      The Court shall retain jurisdiction of this matter for the sole purposes of enforcing

the parties' settlement.



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Dated: February 19,2020                  Dated: February 1?, 2020
       New York, New York                       New York, New York

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       Attorneys for Plaintiffs and the FLSA
       Collective




SO ORDERED,


                                                   The Honorable Vernon S. Broderick




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